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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK




COLUMBIA PARK EAST MHP, LLC            ]
AND KENNETH BURNHAM                    ]
                                       ]     CASE# 6:17-CV-06757
             Plaintiffs                ]
                                       ]
                                       ]
      V.                      ]
                              ]
                              ]
KEYBANK NATIONAL ASSOCIATION; ]
US BANK NATIONAL ASSOCIATION; ]
C-III ASSET MANAGEMENT; AND   ]
TODD BRAGG                    ]
                              ]
             Defendants       ]

                     NOTICE OF VOLUNTARY DISMISSAL

      AND NOW comes Plaintiffs in the above captioned matter and under

F.R.C.P. 41(a)(1)(A)(i) hereby gives notice to voluntarily dismiss the First

Amended Complaint. The Defendants have neither filed an Answer nor a Motion

for Summary Judgment.

Respectfully submitted,

/s/ H.E. Luke Lucas
H.E. Luke Lucas, Esquire
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ATTORNEYS FOR PLAINTIFFS
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                     CERTIFICATE OF SERVICE


I, Harold Lucas, certify that on March 4, 2018, the above Notice of

Voluntary Dismissal was electronically filed utilizing the ECF system and

that the ECF system will automatically generate and send a Notice of

Electronic Filing to all users associated with this matter.


/s/ Luke Lucas
Harold Lucas, Esquire
